B4 (Official Form 4) (12/07)
                                                              United States Bankruptcy Court
                                                                     Western District of Louisiana
            Stanley Dural, Jr.
 In re      Bernite Dural                                                                                       Case No.       13-50600
                                                                                  Debtor(s)                     Chapter        11


                          LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                      Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
            accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
            persons who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
            the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
            If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and
            address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
            name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                    (1)                                               (2)                              (3)                     (4)                   (5)

 Name of creditor and complete                Name, telephone number and complete             Nature of claim (trade   Indicate if claim is   Amount of claim
 mailing address including zip                mailing address, including zip code, of         debt, bank loan,         contingent,            [if secured, also
 code                                         employee, agent, or department of creditor      government contract,     unliquidated,          state value of
                                              familiar with claim who may be contacted        etc.)                    disputed, or           security]
                                                                                                                       subject to setoff
 Convergent Outsourcing,                      Convergent Outsourcing, Inc.                    Sprint                                          1,055.00
 Inc.                                         800 SW 39th Street
 800 SW 39th Street                           Renton, WA 98057-4975
 Renton, WA 98057-4975
 GECRB/Care Credit                            GECRB/Care Credit                                                                               3,182.00
 P.O. Box 965036                              P.O. Box 965036
 Orlando, FL 32896                            Orlando, FL 32896
 Harry J. "Adolo" Harmon                      Harry J. "Adolo" Harmon                                                                         11,000.00
 144 Hollywood St.                            144 Hollywood St.
 P.O. Box 2285                                P.O. Box 2285
 Lafayette, LA 70502                          Lafayette, LA 70502
 Internal Revenue Service                     Internal Revenue Service                        2006 taxes                                      142,267.37
 Insolvency Unit                              Insolvency Unit
 1555 Poydras Street                          1555 Poydras Street                                                                             (0.00 secured)
 Suite 220, Stop 31                           New Orleans, LA 70112
 New Orleans, LA 70112
 Internal Revenue Service                     Internal Revenue Service                        2008 taxes                                      101,558.81
 Insolvency Unit                              Insolvency Unit
 1555 Poydras Street                          1555 Poydras Street                                                                             (0.00 secured)
 Suite 220, Stop 31                           New Orleans, LA 70112
 New Orleans, LA 70112
 Internal Revenue Service                     Internal Revenue Service                        2007 taxes                                      48,951.79
 Insolvency Unit                              Insolvency Unit
 1555 Poydras Street                          1555 Poydras Street                                                                             (0.00 secured)
 Suite 220, Stop 31                           New Orleans, LA 70112
 New Orleans, LA 70112
 Internal Revenue Service                     Internal Revenue Service                        2005 taxes                                      25,489.00
 Insolvency Unit                              Insolvency Unit
 1555 Poydras Street                          1555 Poydras Street                                                                             (0.00 secured)
 Suite 220, Stop 31                           New Orleans, LA 70112
 New Orleans, LA 70112
 Internal Revenue Service                     Internal Revenue Service                        2012 taxes                                      25,306.00
 Insolvency Unit                              Insolvency Unit
 1555 Poydras Street                          1555 Poydras Street
 Suite 220, Stop 31                           New Orleans, LA 70112
 New Orleans, LA 70112

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B4 (Official Form 4) (12/07) - Cont.
           Stanley Dural, Jr.
 In re     Bernite Dural                                                                              Case No.       13-50600
                                                             Debtor(s)

                          LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                           (Continuation Sheet)

                    (1)                                              (2)                             (3)                     (4)                   (5)

 Name of creditor and complete                Name, telephone number and complete           Nature of claim (trade   Indicate if claim is   Amount of claim
 mailing address including zip                mailing address, including zip code, of       debt, bank loan,         contingent,            [if secured, also
 code                                         employee, agent, or department of creditor    government contract,     unliquidated,          state value of
                                              familiar with claim who may be contacted      etc.)                    disputed, or           security]
                                                                                                                     subject to setoff
 Internal Revenue Service                     Internal Revenue Service                      2011 taxes                                      21,699.34
 Insolvency Unit                              Insolvency Unit
 1555 Poydras Street                          1555 Poydras Street
 Suite 220, Stop 31                           New Orleans, LA 70112
 New Orleans, LA 70112
 Internal Revenue Service                     Internal Revenue Service                      2010 taxes                                      14,735.00
 Insolvency Unit                              Insolvency Unit
 1555 Poydras Street                          1555 Poydras Street
 Suite 220, Stop 31                           New Orleans, LA 70112
 New Orleans, LA 70112
 Lafayette General Medical                    Lafayette General Medical Center                                                              4,474.54
 Center                                       P.O. Box 54006
 P.O. Box 54006                               New Orleans, LA
 New Orleans, LA
 Mary Byrd Perkins Cancer                     Mary Byrd Perkins Cancer Ctr.                                                                 9,270.51
 Ctr.                                         4950 Essen Lane
 4950 Essen Lane                              Baton Rouge, LA 70809-2827
 Baton Rouge, LA 70809-2827
 Our Lady of the Lake RMC                     Our Lady of the Lake RMC                                                                      6,199.00
 P.O. Box 691                                 P.O. Box 691
 Carencro, LA 70520-6303                      Carencro, LA 70520-6303
 Our Lady of the Lake RMC                     Our Lady of the Lake RMC                                                                      6,171.40
 P.O. Box 691                                 P.O. Box 691
 Carencro, LA 70520-6303                      Carencro, LA 70520-6303
 State of Louisiana                           State of Louisiana                            2007 taxes                                      6,774.71
 Department of Revenue &                      Department of Revenue & Taxation
 Taxation                                     Post Office Box 66658
 Post Office Box 66658                        Baton Rouge, LA 70896
 Baton Rouge, LA 70896
 State of Louisiana                           State of Louisiana                            2008 taxes                                      5,233.62
 Department of Revenue &                      Department of Revenue & Taxation
 Taxation                                     Post Office Box 66658
 Post Office Box 66658                        Baton Rouge, LA 70896
 Baton Rouge, LA 70896
 State of Louisiana                           State of Louisiana                            2010 taxes                                      1,537.14
 Department of Revenue &                      Department of Revenue & Taxation
 Taxation                                     Post Office Box 66658
 Post Office Box 66658                        Baton Rouge, LA 70896
 Baton Rouge, LA 70896
 State of Louisiana                           State of Louisiana                            2005 taxes                                      20,360.01
 Department of Revenue &                      Department of Revenue & Taxation
 Taxation                                     Post Office Box 66658                                                                         (0.00 secured)
 Post Office Box 66658                        Baton Rouge, LA 70896
 Baton Rouge, LA 70896




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B4 (Official Form 4) (12/07) - Cont.
           Stanley Dural, Jr.
 In re     Bernite Dural                                                                                  Case No.     13-50600
                                                             Debtor(s)

                          LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                           (Continuation Sheet)

                    (1)                                              (2)                                 (3)                   (4)                   (5)

 Name of creditor and complete                Name, telephone number and complete             Nature of claim (trade   Indicate if claim is   Amount of claim
 mailing address including zip                mailing address, including zip code, of         debt, bank loan,         contingent,            [if secured, also
 code                                         employee, agent, or department of creditor      government contract,     unliquidated,          state value of
                                              familiar with claim who may be contacted        etc.)                    disputed, or           security]
                                                                                                                       subject to setoff
 State of Louisiana                           State of Louisiana                              2003 taxes                                      12,826.67
 Department of Revenue &                      Department of Revenue & Taxation
 Taxation                                     Post Office Box 66658                                                                           (0.00 secured)
 Post Office Box 66658                        Baton Rouge, LA 70896
 Baton Rouge, LA 70896
 State of Louisiana                           State of Louisiana                              2006 taxes                                      173,287.40
 Department of Revenue &                      Department of Revenue & Taxation
 Taxation                                     Post Office Box 66658                                                                           (0.00 secured)
 Post Office Box 66658                        Baton Rouge, LA 70896
 Baton Rouge, LA 70896
                                          DECLARATION UNDER PENALTY OF PERJURY
                                        ON BEHALF OF A CORPORATION OR PARTNERSHIP
                     We, Stanley Dural, Jr. and Bernite Dural, the debtors in this case, declare under penalty of perjury that we
            have read the foregoing list and that it is true and correct to the best of our information and belief.


 Date June 27, 2013                                                      Signature   /s/ Stanley Dural, Jr.
                                                                                     Stanley Dural, Jr.
                                                                                     Debtor


 Date June 27, 2013                                                      Signature   /s/ Bernite Dural
                                                                                     Bernite Dural
                                                                                     Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                               United States Bankruptcy Court
                                                                       Western District of Louisiana
  In re          Stanley Dural, Jr.,                                                                          Case No.      13-50600
                 Bernite Dural
                                                                                                        ,
                                                                                       Debtors                Chapter                     11




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED            NO. OF         ASSETS                LIABILITIES               OTHER
                                                         (YES/NO)           SHEETS

A - Real Property                                              Yes            1                  298,400.00


B - Personal Property                                          Yes            4                   33,405.00


C - Property Claimed as Exempt                                 Yes            1


D - Creditors Holding Secured Claims                           Yes            3                                         782,422.71


E - Creditors Holding Unsecured                                Yes            3                                          63,277.48
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes            7                                          56,464.09
    Nonpriority Claims

G - Executory Contracts and                                    Yes            1
   Unexpired Leases

H - Codebtors                                                  Yes            1


I - Current Income of Individual                               Yes            1                                                                    10,791.00
    Debtor(s)

J - Current Expenditures of Individual                         Yes            2                                                                     8,079.20
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                    24


                                                                        Total Assets             331,805.00


                                                                                         Total Liabilities              902,164.28




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Form 6 - Statistical Summary (12/07)


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                                                               United States Bankruptcy Court
                                                                       Western District of Louisiana
  In re           Stanley Dural, Jr.,                                                                                 Case No.   13-50600
                  Bernite Dural
                                                                                                           ,
                                                                                        Debtors                       Chapter                 11


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                   Amount

              Domestic Support Obligations (from Schedule E)                                                       0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                           63,277.48

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                   0.00

              Student Loan Obligations (from Schedule F)                                                           0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                   0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                   0.00

                                                                              TOTAL                        63,277.48


              State the following:

              Average Income (from Schedule I, Line 16)                                                    10,791.00

              Average Expenses (from Schedule J, Line 18)                                                      8,079.20

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                         3,351.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                     524,741.05

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                           63,277.48

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                            0.00

              4. Total from Schedule F                                                                                                56,464.09

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           581,205.14




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B6A (Official Form 6A) (12/07)


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  In re         Stanley Dural, Jr.,                                                                         Case No.      13-50600
                Bernite Dural
                                                                                                ,
                                                                                 Debtors
                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                       Nature of Debtor's       Wife,     Debtor's Interest in              Amount of
                Description and Location of Property                   Interest in Property     Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

Home and land located at 526 Hector Connoly Rd.,                                                    C                  260,000.00                 257,681.66
Carencro, Louisiana

32 acres of farmland (Lions Point in Acadia Parish,                                                 C                    38,400.00                         0.00
leased for farming)




                                                                                                 Sub-Total >           298,400.00          (Total of this page)

                                                                                                        Total >        298,400.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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                   13-50600 - #17 File 06/27/13 Enter 06/27/13 15:34:16 Main Document Pg 6 of 39
B6B (Official Form 6B) (12/07)


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  In re         Stanley Dural, Jr.,                                                                                 Case No.       13-50600
                Bernite Dural
                                                                                                        ,
                                                                                       Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

1.    Cash on hand                                        X

2.    Checking, savings or other financial                    Iberia Bank checking account                                     C                            25.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                      Lafayette Federal Credit Union money market                      C                              5.00
      thrift, building and loan, and                          account
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Washer, dryer, stove, refrigerator, dishwasher, deep             C                        4,000.00
      including audio, video, and                             freezer, dining room table with 10 chairs, hutch,
      computer equipment.                                     sofa, chair, recliner, (2) wingback chairs, coffee
                                                              table, end tables, upright baby grand piano, (5)
                                                              televisions, king size bed, (2) night stands, chest of
                                                              drawers, (2) antique rockers with table, (2) beds
                                                              with dressers

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Clothing                                                         C                           800.00

7.    Furs and jewelry.                                       (2) wedding bands                                                C                            60.00

8.    Firearms and sports, photographic,                      (6) 12 gauge shotguns, (1) 410 gauge, (2) 22 rifles,             C                        1,840.00
      and other hobby equipment.                              (1) 30/06 rifle, (1) 25 caliber handgun, (1) 32 caliber
                                                              handgun

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.




                                                                                                                               Sub-Total >            6,730.00
                                                                                                                   (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Stanley Dural, Jr.,                                                                                   Case No.       13-50600
                Bernite Dural
                                                                                                          ,
                                                                                         Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                (Continuation Sheet)

                                                          N                                                                  Husband,        Current Value of
                Type of Property                          O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                   Joint, or   without Deducting any
                                                          E                                                                 Community Secured Claim or Exemption

10. Annuities. Itemize and name each                      X
    issuer.

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                        Merrill Lynch                                                      C                              0.00
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                                 Sub-Total >                  0.00
                                                                                                                     (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Stanley Dural, Jr.,                                                                                Case No.       13-50600
                Bernite Dural
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                            Music copyrights and royalty interests                          C                      10,000.00
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2007 Chevy 3500 Express Van, 15 passenger                       C                        2,000.00
    other vehicles and accessories.                           245,000 miles

                                                              1996 Cadillac Fleetwood                                         C                        1,000.00
                                                              160,000 miles

                                                              2002 Ford Mustang                                               C                        1,500.00
                                                              124,000 miles

                                                              1937 Chevy 2 door coupe (needs to be restored)                  C                        1,000.00

                                                              1977 Ford LTD II (needs to be restored)                         C                           300.00

                                                              1974 Eldorado Britt Convertible (needs to be                    C                           600.00
                                                              restored)

                                                              1986 Cadillac Elegance (needs to be restored)                   C                           400.00

                                                              1965 Ford Fairlane 500 (needs to be restored)                   C                           800.00

                                                              1960 Lincoln Continental Mark V (needs to be                    C                           600.00
                                                              restored)

                                                              1978 Ford pickup (needs to be restored)                         C                           150.00

                                                              1981 Chevy Van 12 passenger (needs to be                        C                           300.00
                                                              restored)

                                                                                                                              Sub-Total >          18,650.00
                                                                                                                  (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Stanley Dural, Jr.,                                                                                 Case No.        13-50600
                Bernite Dural
                                                                                                        ,
                                                                                         Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption
                                                              1962 Fleetwood Cadillac (needs to be restored)                    C                          200.00

                                                              1936 Oldsmobile Suicide (needs to be restored)                    C                          300.00

                                                              1949 Chevy (needs to be restored)                                 C                          300.00

                                                              1974 Volkswagen Bug (needs to be restored)                        C                          250.00

                                                              Utility Trailer (closed-in, used to haul music                    C                          800.00
                                                              equipment)

                                                              1969 Silver Eagle tour bus (needs to be restored)                 C                       1,000.00

26. Boats, motors, and accessories.                           15' Aluminum Boat (25 hp motor) and trailer                       C                          600.00

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                       Acordion (Horner), (2) Philharmonic Accordions,                   C                       2,500.00
    supplies used in business.                                Peavy Sound System, Conn Saxophone, Mammon
                                                              Organ B3, Kork Keyboard, Ensoniq Keyboard, Elka
                                                              Keyboard, Mogg Synthesizer

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                       John deere tractor with bushhog groomer                           C                          800.00
    not already listed. Itemize.
                                                              John Deere riding lawnmower (not operable)                        C                           75.00

                                                              Flatbed trailer                                                   C                       1,200.00




                                                                                                                               Sub-Total >            8,025.00
                                                                                                                   (Total of this page)
                                                                                                                                    Total >         33,405.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                           (Report also on Summary of Schedules)
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                  13-50600 - #17 File 06/27/13 Enter 06/27/13 15:34:16 Main Document Pg 10 of 39
 B6C (Official Form 6C) (4/13)


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   In re         Stanley Dural, Jr.,                                                                                 Case No.           13-50600
                 Bernite Dural
                                                                                                         ,
                                                                                      Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                     with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                              Specify Law Providing                         Value of                 Current Value of
                   Description of Property                                       Each Exemption                             Claimed                  Property Without
                                                                                                                           Exemption               Deducting Exemption
Household Goods and Furnishings
Washer, dryer, stove, refrigerator, dishwasher,                         LSA-R.S. § 13:3881(A)(4)(a)                                4,000.00                         4,000.00
deep freezer, dining room table with 10 chairs,
hutch, sofa, chair, recliner, (2) wingback chairs,
coffee table, end tables, upright baby grand
piano, (5) televisions, king size bed, (2) night
stands, chest of drawers, (2) antique rockers
with table, (2) beds with dressers

Wearing Apparel
Clothing                                                                LSA-R.S. § 13:3881(A)(4)(a)                                  800.00                           800.00

Furs and Jewelry
(2) wedding bands                                                       LSA-R.S. § 13:3881(A)(5)                                       60.00                            60.00

Firearms and Sports, Photographic and Other Hobby Equipment
(6) 12 gauge shotguns, (1) 410 gauge, (2) 22         LSA-R.S. § 13:3881(A)(4)(c)                                                   1,840.00                         1,840.00
rifles, (1) 30/06 rifle, (1) 25 caliber handgun, (1)
32 caliber handgun

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Merrill Lynch                                       LSA-R.S. §§ 20:33(1), 13:3881(D)                                                     0.00                             0.00

Automobiles, Trucks, Trailers, and Other Vehicles
2007 Chevy 3500 Express Van, 15 passenger                               LSA-R.S. § 13:3881(A)(7)                                   2,000.00                         2,000.00
245,000 miles

Utility Trailer (closed-in, used to haul music                          LSA-R.S. § 13:3881(A)(2)                                     800.00                           800.00
equipment)

Machinery, Fixtures, Equipment and Supplies Used in Business
Acordion (Horner), (2) Philharmonic              LSA-R.S. § 13:3881(A)(2)                                                          2,500.00                         2,500.00
Accordions, Peavy Sound System, Conn
Saxophone, Mammon Organ B3, Kork
Keyboard, Ensoniq Keyboard, Elka Keyboard,
Mogg Synthesizer




                                                                                                         Total:                  12,000.00                        12,000.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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                   13-50600 - #17 File 06/27/13 Enter 06/27/13 15:34:16 Main Document Pg 11 of 39
 B6D (Official Form 6D) (12/07)


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   In re         Stanley Dural, Jr.,                                                                                         Case No.     13-50600
                 Bernite Dural
                                                                                                                ,
                                                                                                  Debtors
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                      C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                           O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                       N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                           T    I   P       WITHOUT            UNSECURED
            INCLUDING ZIP CODE,                              B   W           NATURE OF LIEN, AND                         I    Q   U                          PORTION, IF
                                                             T   J         DESCRIPTION AND VALUE                         N    U   T
                                                                                                                                         DEDUCTING
           AND ACCOUNT NUMBER                                O                                                           G    I   E       VALUE OF              ANY
             (See instructions above.)
                                                                 C               OF PROPERTY
                                                             R
                                                                                SUBJECT TO LIEN
                                                                                                                         E    D   D     COLLATERAL
                                                                                                                         N    A
                                                                                                                         T    T
Account No.                                                          Second Mortgage                                          E
                                                                                                                              D

Iberia Bank                                                          Home and land located at 526 Hector
1101 E. Admiral Doyle Drive                                          Connoly Rd., Carencro, Louisiana
New Iberia, LA 70560-6300
                                                                 C

                                                                        Value $                         260,000.00                        170,342.00                       0.00
Account No.                                                          Tax Lien

Internal Revenue Service                                             2008 taxes
Insolvency Unit
1555 Poydras Street
                                                                 C
Suite 220, Stop 31
New Orleans, LA 70112
                                                                        Value $                               0.00                        101,558.81             101,558.81
Account No.                                                          Tax Lien

Internal Revenue Service                                             2007 taxes
Insolvency Unit
1555 Poydras Street
                                                                 C
Suite 220, Stop 31
New Orleans, LA 70112
                                                                        Value $                               0.00                         48,951.79               48,951.79
Account No.                                                          Tax Lien

Internal Revenue Service                                             2006 taxes
Insolvency Unit
1555 Poydras Street
                                                                 C
Suite 220, Stop 31
New Orleans, LA 70112
                                                                        Value $                               0.00                        142,267.37             142,267.37
                                                                                                                      Subtotal
 2
_____ continuation sheets attached                                                                                                        463,119.97             292,777.97
                                                                                                             (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re         Stanley Dural, Jr.,                                                                                         Case No.     13-50600
                 Bernite Dural
                                                                                                                ,
                                                                                                  Debtors

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                      C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                           O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                           T    I   P       WITHOUT        UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                      PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
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                                                             T   J                                                       N    U   T                         ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                          G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                         N    A
                                                                                                                         T    T
Account No.                                                          Tax Lien                                                 E
                                                                                                                              D

Internal Revenue Service                                             2005 taxes
Insolvency Unit
1555 Poydras Street
                                                                 C
Suite 220, Stop 31
New Orleans, LA 70112
                                                                        Value $                               0.00                         25,489.00           25,489.00
Account No. xxxxxx7914                                               First Mortgage

JP Morgan Chase Bank, NA                                             Home and land located at 526 Hector
3415 Vision Drive                                                    Connoly Rd., Carencro, Louisiana
Columbus, OH 43219-3792
                                                                 C

                                                                        Value $                         260,000.00                         87,339.66                   0.00
Account No.

Chase                                                                   Representing:
P.O. Box 24696                                                          JP Morgan Chase Bank, NA                                         Notice Only
Columbus, OH 43224-0696


                                                                        Value $
Account No.

Graham, Arceneaux & Allen, LLC                                          Representing:
c/o Louis Graham Arceneaux                                              JP Morgan Chase Bank, NA                                         Notice Only
Pan American Life Center
601 Poydras, Suite 2080
New Orleans, LA 70130
                                                                        Value $
Account No.                                                          Tax Lien

State of Louisiana                                                   2005 taxes
Department of Revenue & Taxation
Post Office Box 66658
                                                                 C
Baton Rouge, LA 70896

                                                                        Value $                               0.00                         20,360.01           20,360.01
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                                 Subtotal
                                                                                                                                          133,188.67           45,849.01
Schedule of Creditors Holding Secured Claims                                                                 (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re         Stanley Dural, Jr.,                                                                                          Case No.     13-50600
                 Bernite Dural
                                                                                                                 ,
                                                                                                  Debtors

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                            O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                            T    I   P       WITHOUT        UNSECURED
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            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
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                                                             T   J                                                        N    U   T                         ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                           G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                        E    D   D     COLLATERAL
                                                                                                                          N    A
                                                                                                                          T    T
Account No.                                                          Tax Lien                                                  E
                                                                                                                               D

State of Louisiana                                                   2006 taxes
Department of Revenue & Taxation
Post Office Box 66658
                                                                 C
Baton Rouge, LA 70896

                                                                        Value $                                0.00                        173,287.40         173,287.40
Account No.                                                          Tax Lien

State of Louisiana                                                   2003 taxes
Department of Revenue & Taxation
Post Office Box 66658
                                                                 C
Baton Rouge, LA 70896

                                                                        Value $                                0.00                         12,826.67           12,826.67
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
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Sheet _____    2
            of _____  continuation sheets attached to                                                                  Subtotal
                                                                                                                                           186,114.07         186,114.07
Schedule of Creditors Holding Secured Claims                                                                  (Total of this page)
                                                                                                                          Total            782,422.71         524,741.05
                                                                                                (Report on Summary of Schedules)

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B6E (Official Form 6E) (4/13)


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  In re         Stanley Dural, Jr.,                                                                                                Case No.            13-50600
                Bernite Dural
                                                                                                                      ,
                                                                                                Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             2         continuation sheets attached
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                  13-50600 - #17 File 06/27/13 Enter 06/27/13 15:34:16 Main Document Pg 15 of 39
 B6E (Official Form 6E) (4/13) - Cont.




   In re         Stanley Dural, Jr.,                                                                                         Case No.      13-50600
                 Bernite Dural
                                                                                                                ,
                                                                                                  Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                         Taxes and Certain Other Debts
                                                                                                                          Owed to Governmental Units
                                                                                                                                      TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                      C    U   D
             CREDITOR'S NAME,                                O                                                           O    N   I                      AMOUNT NOT
                                                             D                                                           N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H          DATE CLAIM WAS INCURRED                      T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                          AND CONSIDERATION FOR CLAIM                    I    Q   U
                                                                                                                                         OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                       N    U   T                                AMOUNT
                                                             O                                                           G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                       E    D   D
                                                                                                                         N    A
                                                                                                                                                                   PRIORITY
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Account No.                                                          2010 taxes                                               E
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Internal Revenue Service
Insolvency Unit                                                                                                                                          0.00
1555 Poydras Street
                                                                 C
Suite 220, Stop 31
New Orleans, LA 70112
                                                                                                                                            14,735.00            14,735.00
Account No.

Internal Revenue Service                                                Representing:
District Counsel                                                        Internal Revenue Service                                          Notice Only
Post Office Box 30509
New Orleans, LA 70190


Account No.

IRS                                                                     Representing:
600 S. Maestri Pl St 31                                                 Internal Revenue Service                                          Notice Only
New Orleans, LA 70130




Account No.                                                          2011 taxes

Internal Revenue Service
Insolvency Unit                                                                                                                                          0.00
1555 Poydras Street
                                                                 C
Suite 220, Stop 31
New Orleans, LA 70112
                                                                                                                                            21,699.34            21,699.34
Account No.                                                          2012 taxes

Internal Revenue Service
Insolvency Unit                                                                                                                                          0.00
1555 Poydras Street
                                                                 C
Suite 220, Stop 31
New Orleans, LA 70112
                                                                                                                                            25,306.00            25,306.00
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Sheet _____    2
            of _____  continuation sheets attached to                                                                 Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                      (Total of this page)           61,740.34            61,740.34




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 B6E (Official Form 6E) (4/13) - Cont.




   In re         Stanley Dural, Jr.,                                                                                          Case No.      13-50600
                 Bernite Dural
                                                                                                                 ,
                                                                                                  Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                          Taxes and Certain Other Debts
                                                                                                                           Owed to Governmental Units
                                                                                                                                       TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                O                                                            O    N   I                      AMOUNT NOT
                                                             D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                          OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                        N    U   T                                AMOUNT
                                                             O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                        E    D   D
                                                                                                                          N    A
                                                                                                                                                                    PRIORITY
                                                                                                                          T    T
Account No.                                                          2010 taxes                                                E
                                                                                                                               D

State of Louisiana
Department of Revenue & Taxation                                                                                                                          0.00
Post Office Box 66658
                                                                 C
Baton Rouge, LA 70896

                                                                                                                                              1,537.14              1,537.14
Account No.




Account No.




Account No.




Account No.




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Sheet _____    2
            of _____  continuation sheets attached to                                                                  Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)            1,537.14              1,537.14
                                                                                                                          Total                           0.00
                                                                                                (Report on Summary of Schedules)             63,277.48            63,277.48

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   In re         Stanley Dural, Jr.,                                                                                     Case No.         13-50600
                 Bernite Dural
                                                                                                                 ,
                                                                                               Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
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                                                                                                                                            N   A
Account No. 9470                                                                                                                            T   T
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Acadiana Orthopaedic Group
1448 S. College Rd.                                                         C
Lafayette, LA 70503-2920

                                                                                                                                                                         120.24
Account No. ending in 1126

AT&T Services/BellSouth Telecomm
Attn: Karen A. Cavagnaro                                                    C
One AT&T Way, Room 3A104
Bedminster, NJ 07921
                                                                                                                                                                         288.75
Account No. x5480

Cardiovascular Clinic
5000 Ambassador Caffery                                                     C
Province Bldg. 14A
Lafayette, LA 70508-6984
                                                                                                                                                                           35.00
Account No. xxxxx-1407

Cardiovascular Institute South
P.O. Box 4176                                                               C
Houma, LA 70361

                                                                                                                                                                         180.61

                                                                                                                                        Subtotal
 6
_____ continuation sheets attached                                                                                                                                       624.60
                                                                                                                              (Total of this page)




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                   13-50600 - #17 File 06/27/13 Enter 06/27/13 15:34:16 Main Document Pg 18 of 39
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Stanley Dural, Jr.,                                                                                 Case No.     13-50600
                 Bernite Dural
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                           E   D   D
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Account No.                                                                     Sprint                                                  E
                                                                                                                                        D

Convergent Outsourcing, Inc.
800 SW 39th Street                                                          C
Renton, WA 98057-4975

                                                                                                                                                            1,055.00
Account No.

Dr. William Guillory
                                                                            C



                                                                                                                                                                60.00
Account No. xxx9737

Delta Financial Services                                                        Representing:
Post Office Box 52253                                                           Dr. William Guillory                                                    Notice Only
Lafayette, LA 70505



Account No.

GECRB/Care Credit
P.O. Box 965036                                                             C
Orlando, FL 32896

                                                                                                                                                            3,182.00
Account No.

Harry J. "Adolo" Harmon
144 Hollywood St.                                                           C
P.O. Box 2285
Lafayette, LA 70502
                                                                                                                                                          11,000.00

           1
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                          15,297.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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                   13-50600 - #17 File 06/27/13 Enter 06/27/13 15:34:16 Main Document Pg 19 of 39
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Stanley Dural, Jr.,                                                                                 Case No.     13-50600
                 Bernite Dural
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                  (See instructions above.)                             R                                                           E   D   D
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Account No.                                                                                                                             E
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Lafayette General Medical Center
P.O. Box 54006                                                              C
New Orleans, LA

                                                                                                                                                            4,474.54
Account No. xxx9737

Delta Financial Services                                                        Representing:
Post Office Box 52253                                                           Lafayette General Medical Center                                        Notice Only
Lafayette, LA 70505



Account No.                                                                     Heart Hospital Lafayette

LRS Debt Collection Group
1304 Bertrand Drive, Ste F4                                                 C
Lafayette, LA 70506-9106

                                                                                                                                                              223.00
Account No.                                                                     Heart Hospital Lafayette

LRS Debt Collection Group
1304 Bertrand Drive, Ste F4                                                 C
Lafayette, LA 70506-9106

                                                                                                                                                                64.00
Account No. xxx0669

Mary Byrd Perkins Cancer Ctr.
4950 Essen Lane                                                             C
Baton Rouge, LA 70809-2827

                                                                                                                                                            9,270.51

           2
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                          14,032.05
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Stanley Dural, Jr.,                                                                                 Case No.     13-50600
                 Bernite Dural
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
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                                                                                                                                    N   A
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Account No. xxx0669                                                                                                                     E
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Mary Byrd Perkins Cancer Ctr.                                                   Representing:
P.O. Box 11407                                                                  Mary Byrd Perkins Cancer Ctr.                                           Notice Only
Dept. 1299
Birmingham, AL 35246-1299


Account No. xxxxxxx1078

OLOL Voice Center
8415 Goodwood Blvd., Ste. 105                                               C
Baton Rouge, LA 70806-7851

                                                                                                                                                              203.46
Account No. xxxxxxx1078

OLOL Voice Center                                                               Representing:
P.O. Box 848714                                                                 OLOL Voice Center                                                       Notice Only
Boston, MA 02284-8714



Account No. xxxxx8936

Our Lady of the Lake RMC
P.O. Box 691                                                                C
Carencro, LA 70520-6303

                                                                                                                                                              806.62
Account No. xxxxx8936

Our Lady of the Lake RMC                                                        Representing:
P.O. Box 61008                                                                  Our Lady of the Lake RMC                                                Notice Only
New Orleans, LA 70161-1008



           3
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                            1,010.08
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Stanley Dural, Jr.,                                                                                 Case No.     13-50600
                 Bernite Dural
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
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Account No. xxxxxxxxx0709                                                                                                               E
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Our Lady of the Lake RMC
P.O. Box 691                                                                C
Carencro, LA 70520-6303

                                                                                                                                                              198.50
Account No. 0976389360711

Our Lady of the Lake RMC
P.O. Box 691                                                                C
Carencro, LA 70520-6303

                                                                                                                                                                47.81
Account No. 0976389360712

Our Lady of the Lake RMC
P.O. Box 691                                                                C
Carencro, LA 70520-6303

                                                                                                                                                              117.19
Account No. xxxxxxxxx0713

Our Lady of the Lake RMC
P.O. Box 691                                                                C
Carencro, LA 70520-6303

                                                                                                                                                              442.81
Account No. xxxxxxxxx0715

Our Lady of the Lake RMC
P.O. Box 691                                                                C
Carencro, LA 70520-6303

                                                                                                                                                            6,199.00

           4
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                            7,005.31
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Stanley Dural, Jr.,                                                                                 Case No.     13-50600
                 Bernite Dural
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
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                 INCLUDING ZIP CODE,
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Account No. xxxxxxxxx0716                                                                                                               E
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Our Lady of the Lake RMC
P.O. Box 691                                                                C
Carencro, LA 70520-6303

                                                                                                                                                            6,171.40
Account No. xxxxxxxxx0718

Our Lady of the Lake RMC
P.O. Box 691                                                                C
Carencro, LA 70520-6303

                                                                                                                                                                15.32
Account No.                                                                     Heart Hospital of Acadiana

Receivable Recovery
2420 Athania Pkwy., Ste. 202                                                C
Metairie, LA 70001-1975

                                                                                                                                                                65.00
Account No.                                                                     2007 taxes

State of Louisiana
Department of Revenue & Taxation                                            C
Post Office Box 66658
Baton Rouge, LA 70896
                                                                                                                                                            6,774.71
Account No.                                                                     2008 taxes

State of Louisiana
Department of Revenue & Taxation                                            C
Post Office Box 66658
Baton Rouge, LA 70896
                                                                                                                                                            5,233.62

           5
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                          18,260.05
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Stanley Dural, Jr.,                                                                                       Case No.      13-50600
                 Bernite Dural
                                                                                                                  ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
                   MAILING ADDRESS                                      D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                        T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                     Lourdes After Hours                                            E
                                                                                                                                               D

Transfinancial, Inc.
P.O. Box 406                                                                C
Baton Rouge, LA 70821-0406

                                                                                                                                                                       35.00
Account No.                                                                     Acadian Ambulance

Transfinancial, Inc.
P.O. Box 406                                                                C
Baton Rouge, LA 70821-0406

                                                                                                                                                                     200.00
Account No.




Account No.




Account No.




           6
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                     235.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)                56,464.09


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B6G (Official Form 6G) (12/07)


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  In re             Stanley Dural, Jr.,                                                                         Case No.        13-50600
                    Bernite Dural
                                                                                                      ,
                                                                                    Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.

                     Chester Simon                                                       Farm Lease




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                     13-50600 - #17 File 06/27/13 Enter 06/27/13 15:34:16 Main Document Pg 25 of 39
B6H (Official Form 6H) (12/07)


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  In re          Stanley Dural, Jr.,                                                                     Case No.       13-50600
                 Bernite Dural
                                                                                               ,
                                                                             Debtors
                                                                   SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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                  13-50600 - #17 File 06/27/13 Enter 06/27/13 15:34:16 Main Document Pg 26 of 39
B6I (Official Form 6I) (12/07)
          Stanley Dural, Jr.
 In re    Bernite Dural                                                                                 Case No.        13-50600
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                None.

Employment:                                               DEBTOR                                                   SPOUSE
Occupation
Name of Employer
How long employed
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00           $           0.00
2. Estimate monthly overtime                                                                             $          0.00           $           0.00

3. SUBTOTAL                                                                                              $               0.00      $            0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $               0.00      $            0.00
     b. Insurance                                                                                        $               0.00      $            0.00
     c. Union dues                                                                                       $               0.00      $            0.00
     d. Other (Specify):                                                                                 $               0.00      $            0.00
                                                                                                         $               0.00      $            0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $               0.00      $            0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $               0.00      $            0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $         7,000.00        $           0.00
8. Income from real property                                                                             $             0.00        $         125.00
9. Interest and dividends                                                                                $             0.00        $           0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00      $            0.00
11. Social security or government assistance
(Specify):           SSI                                                                                 $         1,918.00        $        1,098.00
                                                                                                         $             0.00        $            0.00
12. Pension or retirement income                                                                         $             0.00        $            0.00
13. Other monthly income
(Specify):           Royalty Income                                                                      $             650.00      $            0.00
                                                                                                         $               0.00      $            0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         9,568.00        $        1,223.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         9,568.00        $        1,223.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            10,791.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




            13-50600 - #17 File 06/27/13 Enter 06/27/13 15:34:16 Main Document Pg 27 of 39
B6J (Official Form 6J) (12/07)
          Stanley Dural, Jr.
 In re    Bernite Dural                                                                       Case No.    13-50600
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 3,048.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   300.00
                   b. Water and sewer                                                                       $                    60.00
                   c. Telephone                                                                             $                    10.00
                   d. Other See Detailed Expense Attachment                                                 $                   298.75
3. Home maintenance (repairs and upkeep)                                                                    $                     0.00
4. Food                                                                                                     $                   250.00
5. Clothing                                                                                                 $                    50.00
6. Laundry and dry cleaning                                                                                 $                   100.00
7. Medical and dental expenses                                                                              $                   500.00
8. Transportation (not including car payments)                                                              $                   350.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    60.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   452.45
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) IRS & State                                                                       $                2,500.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other Personal Grooming                                                                                 $                   100.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 8,079.20
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                10,791.00
b. Average monthly expenses from Line 18 above                                                              $                 8,079.20
c. Monthly net income (a. minus b.)                                                                         $                 2,711.80




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B6J (Official Form 6J) (12/07)
          Stanley Dural, Jr.
 In re    Bernite Dural                                               Case No.   13-50600
                                                     Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                        Detailed Expense Attachment
Other Utility Expenditures:
gas                                                                              $           20.00
cable/phone/internet                                                             $          260.00
garbage collection ($75.00 quarterly)                                            $           18.75
Total Other Utility Expenditures                                                 $          298.75




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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                     Western District of Louisiana
            Stanley Dural, Jr.
 In re      Bernite Dural                                                                                    Case No.   13-50600
                                                                                    Debtor(s)                Chapter    11




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of           26
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date June 27, 2013                                                     Signature   /s/ Stanley Dural, Jr.
                                                                                    Stanley Dural, Jr.
                                                                                    Debtor


 Date June 27, 2013                                                     Signature   /s/ Bernite Dural
                                                                                    Bernite Dural
                                                                                    Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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                                                              United States Bankruptcy Court
                                                                     Western District of Louisiana
             Stanley Dural, Jr.
 In re       Bernite Dural                                                                                     Case No.       13-50600
                                                                                  Debtor(s)                    Chapter        11

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                 DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $146,405.00                           2011 income
                          $105,001.00                           2012 income
                          $0.00                                 2013 income [year to date]

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $4,256.00                             2011 social security benefits

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                         AMOUNT                                 SOURCE
                         $4,494.00                              2012 social security benefits
                         $10,028.00                             2012 gambling winnings
                         $15,080.00                             2013 social security benefits [year to date]

               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                        DATES OF                                                       AMOUNT STILL
    OF CREDITOR                                                          PAYMENTS                              AMOUNT PAID                OWING

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                         DATES OF                                   PAID OR
                                                                         PAYMENTS/                                VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                            TRANSFERS                               TRANSFERS                OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                             DATE OF PAYMENT                       AMOUNT PAID                OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                       NATURE OF           COURT OR AGENCY                                STATUS OR
 AND CASE NUMBER                                                       PROCEEDING          AND LOCATION                                   DISPOSITION
 JP Morgan Chase Bank, NA v. Bernite Dural and                         Executory           15th JDC, Lafayette Louisiana                  Pending
 Stanley Dural, Jr.                                                    Process/Foreclo
 Case No. 2013-1797 "I"                                                sure

      None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                           DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                        DATE OF SEIZURE                 PROPERTY


  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,      DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN              PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER               ORDER                    PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                 DATE OF GIFT             VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                            DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                      LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                            DATE OF PAYMENT,                              AMOUNT OF MONEY
 NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                       OR DESCRIPTION AND VALUE
     OF PAYEE                                                                  THAN DEBTOR                                   OF PROPERTY
 Weinstein & St. Germain, LLC                                            05/20/2013                                  $1,600.00
 1414 NE Evangeline Thrwy.
 Lafayette, LA 70501




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               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                          DATE                               AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                              DATE(S) OF                  VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                     TRANSFER(S)                 IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                       TYPE OF ACCOUNT, LAST FOUR
                                                                       DIGITS OF ACCOUNT NUMBER,                        AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                      AND AMOUNT OF FINAL BALANCE                              OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
   OR OTHER DEPOSITORY                                    TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY
 Iberia Bank                                              Stanley and Bernite Dural               nothing (empty)
 1101 E. Admiral Doyle Drive                              526 Hector Connoly Rd.
 New Iberia, LA 70560-6300                                Carencro, LA 70520

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                         DATE OF SETOFF                                    AMOUNT OF SETOFF
 Internal Revenue Service                                             May 2013                                          $280.00
 Insolvency Unit
 1555 Poydras Street
 Suite 220, Stop 31
 New Orleans, LA 70112

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.




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 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY               LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                             NAME USED                                         DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                   DOCKET NUMBER                                     STATUS OR DISPOSITION




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               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN              ADDRESS                      NATURE OF BUSINESS               ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                  ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED
 Harry J. "Adolo" Harmon
 144 Hollywood St.
 P.O. Box 2285
 Lafayette, LA 70502

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                   ADDRESS
 Harry J. "Adolo" Harmon                                                                144 Hollywood St.
                                                                                        P.O. Box 2285
                                                                                        Lafayette, LA 70502




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   None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                    NATURE OF INTEREST                                PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                    TITLE                                 OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                    TITLE                                 DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                       DATE AND PURPOSE                                  OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                              OF WITHDRAWAL                                     VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)



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               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                             ******

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date June 27, 2013                                                  Signature    /s/ Stanley Dural, Jr.
                                                                                  Stanley Dural, Jr.
                                                                                  Debtor


 Date June 27, 2013                                                  Signature    /s/ Bernite Dural
                                                                                  Bernite Dural
                                                                                  Joint Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                              United States Bankruptcy Court
                                                                     Western District of Louisiana
             Stanley Dural, Jr.
 In re       Bernite Dural                                                                                    Case No.      13-50600
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $     [To Be Determined]
             Prior to the filing of this statement I have received                                        $                  1,600.00
             Balance Due                                                                                  $     [To Be Determined]

2.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      June 27, 2013                                                       /s/ Tom St. Germain
                                                                                 Tom St. Germain 24887
                                                                                 Weinstein & St. Germain
                                                                                 1414 NE Evangeline Thruway
                                                                                 Lafayette, LA 70501
                                                                                 (337) 235-4001 Fax: (337) 235-4020




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